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                              UNITED STATES DISTRICT COURT
                               NORTHERN DISTRICT OF TEXAS
                                    DALLAS DIVISION

  HIGHLAND CAPITAL                             §
  MANAGEMENT LP,                               §
                                               §
              Plaintiff,                       §
                                               § Civil Action No. 3:21-CV-01379-X
  v.                                           §
                                               §
  HCRE PARTNERS LLC                            §
                                               §
              Defendant.

                                        ORDER

         This case involves a Chapter 11 bankruptcy and a related adversary

proceeding. Under the United States District Court for the Northern District of

Texas’ standing order of reference, 1 proceedings arising in, or related to, a case under

Title 11 are automatically referred to the Bankruptcy Court. HCRE Partners filed a

Motion for to Withdraw the Reference. The Bankruptcy Court issued a Report and

Recommendation [Doc. No. 3], dated July 15, 2021. HCRE Partners filed an objection.

After reviewing the record in accordance with the standards of 28 U.S.C. § 157, the

Court ACCEPTS the Bankruptcy Court’s Report and Recommendation. The Court

will grant the motion upon certification from the Bankruptcy Court that the case is

ready for trial, and the Court further refers all pre-trial matters to the Bankruptcy

Court.




         1   Misc. Order No. 33.

                                           1
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   IT IS SO ORDERED this 17th day of August, 2021.




                               BRANTLEY STARR
                               UNITED STATES DISTRICT JUDGE




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